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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                       AT LOUISVILLE
                                   ELECTRONICALLY FILED

                                                   )
 STEPHANIE NEWTON,                                 )
                                                   )
                 Plaintiff,                        )
                                                   )
  v.                                               )   CIVIL ACTION NO. 3:20-cv-00711-GNS
                                                   )
 AMAZON.COM SERVICES, LLC,                         )
 AMAZON.COM SERVICES, INC.,                        )
 REED GROUP MANAGEMENT, LLC,                       )
 REED GROUP, LTD.                                  )
                                                   )
                 Defendants.                       )


                                     AMENDED COMPLAINT

                                    ** ** ** ** ** ** ** ** ** **

          Comes the Plaintiff, Stephanie Newton, and for her Amended Complaint against

 Defendants Amazon.com Services, LLC, Amazon.com Services, Inc., Reed Group Management

 LLC, and Reed Group, LTD, states as follows:

       1. Plaintiff Stephanie Newton is a citizen and resident of Nelson County, Kentucky.

       2. Defendant Amazon.com Services, LLC is a foreign limited liability company believed to

          be domiciled in the state of Delaware, with its principal office located at 410 Terry Avenue

          North, Seattle, Washington 98109.

       3. Defendant Amazon.com Services, LLC’s service of process agent is Corporation Service

          Company, located at 421 West Main Street, Frankfort, Kentucky 40601, and Amazon.com

          Services, LLC may be served through the same.
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    4. Defendant Amazon.com Services, Inc. is believed to be a foreign corporation domiciled in

       the state of Delaware, with its principal office located at 440 Terry Avenue North, Seattle,

       Washington 98109.

    5. It is believed that Defendant Amazon.com Services, Inc. may be served through the

       Kentucky Secretary of State at its principal office located at 440 Terry Avenue North,

       Seattle, Washington 98109.

    6. Defendant Reed Group Management LLC is a foreign limited liability company believed

       to be domiciled in the state of Connecticut, with its principal office located at 10355

       Westmoor Drive, Westminster, Colorado 80021.

    7. Defendant Reed Group Management LLC’s service of process agent is Corporation Service

       Company, located at 421 West Main Street, Frankfort, Kentucky 40601, and Reed Group

       Management LLC may be served through the same.

    8. Defendant Reed Group LTD is a foreign corporation believed to be domiciled in the state

       of Colorado, with its principal office located at 10355 Westmoor Drive, Westminster,

       Colorado 80021.

    9. Defendant Reed Group LTD’s service of process agent is Corporation Service Company,

       located at 421 West Main Street, Frankfort, Kentucky 40601, and Reed Group LTD may

       be served through the same.

    10. Jurisdiction and venue are proper in this Court because Defendants transact business and

       caused damages in the Commonwealth of Kentucky, and Plaintiff resides in, and was

       caused harm in Nelson County, Kentucky. Furthermore, as this case involves claims under

       the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001, et

       seq., this Court has federal question subject matter jurisdiction pursuant to 28 U.S.C. §

       1331.

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    11. At the time of the circumstances giving rise to this lawsuit, Plaintiff was an employee of

       Amazon, employed as a FC Associate I.

    12. Amazon established and provided the short-term disability (a/k/a “Plan”) (hereinafter the

       “STD plan”) to its employees, which includes Plaintiff.

    13. Plaintiff was covered and eligible under the Plan.

    14. The Plan defines disability and entitles Plaintiff to receive benefits if Plaintiff meets the

       following definition:

            “Disability” or “Disabled” means that the employee, as a result of Injury or
            Sickness, is unable to perform the Material and Substantial Duties of the
            employee’s Own Job.

    15. STD plan benefits are believed to be paid by Defendants Amazon and from the general

       assets of Defendants Amazon.

    16. Plaintiff became disabled under the terms of the STD plan, which disability arose after the

       Effective Date, and she was unable to return to work as a FC Associate I since on or about

       September 25, 2019, and thereafter remained disabled under the terms of the STD plan.

    17. Plaintiff timely and properly made a claim under the STD plan. Plaintiff’s assigned STD

       case number is believed to be 19092601279.

    18. Defendants approved Plaintiff’s claim for benefits for a period of time, including through

       October 21, 2019.

    19. By letter dated November 27, 2019, Defendants denied Plaintiff’s STD determining that

       no further benefit payments were payable.

    20. Plaintiff timely and properly appealed the denial of her disability benefits in the manner

       set forth in the STD plan.

    21. By letter dated January 8, 2020, Defendants upheld the wrongful denial of Plaintiff’s STD

       benefits.

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    22. Plaintiff timely and properly appealed the denial of her disability benefits in the manner

       set forth in the STD plan.

    23. After Plaintiff’s administrative appeal, Defendants sent Plaintiff a letter dated March 9,

       2020, in which Defendants upheld the denial of Plaintiff’s STD benefits.

    24. The March 9, 2020 letter states that Plaintiff has “exhausted [her] Appeal and 2nd Appeal

       rights, which exhausts the appeal process under this plan” and Plaintiff has “the right to

       bring a legal action for benefits…”

    25. Plaintiff has timely and properly exhausted her administrative remedies and appeals.

    26. Plaintiff is entitled to payment of STD benefits from Defendants, as Plaintiff meets the

       definition of “disability” under the terms of the STD plan.

    27. Defendants have wrongfully withheld, and are responsible for, payment of STD benefits

       to those entitled to benefits under the STD plan, including Plaintiff.

    28. The Plan and STD policy are benefits governed by ERISA.

                                             COUNT I

    29. Plaintiff incorporates by reference all of the preceding paragraphs as if fully stated herein.

    30. This count is brought under ERISA, pursuant to 29 U.S.C. § 1132(a)(1)(B), to recover

       benefits under the terms of the Plan and STD Policy, as a result of Defendants’ improper

       denials of benefits under the terms of the Plan and STD Policy.

    31. Plaintiff is entitled to payment of STD benefits, as Plaintiff meets the definition of

       “disabled” under the terms of the STD policy.

    32. Defendants have wrongfully withheld, and is responsible for, payment of STD benefits to

       those entitled to benefits under the STD policy, including Plaintiff. Defendants have

       violated ERISA and specifically 29 U.S.C. 1132(a)(1)(B) in its refusal to pay owed

       benefits.

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    33. Defendants’ decision to deny benefits was wrong, arbitrary and capricious, against the

        overwhelming evidence provided to Defendants, and a breach of fiduciary duty, all of

        which entitles Plaintiff to recovery of benefits under the terms of the plan, interest, costs

        and attorney’s fees under 29 U.S.C. § 1132(a)(1)(B) and 29 U.S.C. § 1132(g).

    34. Defendants’ internal review is subject to the abuse of discretion standard of review.

    35. The damages sought for the aforesaid injuries are in excess of the jurisdictional limits of

        this Court.

    WHEREFORE, Plaintiff Stephanie Newton demands the following relief:

    Judgment against Defendants for full contractual benefits under 29 U.S.C. 1132(a)(1)(B) and

 attorney’s fees, interest, and costs under 29 U.S.C. 1132(g) pursuant to ERISA.



                                                      Respectfully submitted,

                                                      /s/ Elizabeth A. Thornsbury
                                                      ELIZABETH A. THORNSBURY
                                                      Email: elizabeth@austinmehr.com
                                                      M. AUSTIN MEHR
                                                      Email: amehr@austinmehr.com
                                                      Mehr, Fairbanks & Peterson
                                                      Trial Lawyers, PLLC
                                                      201 West Short Street, Suite 800
                                                      Lexington, Kentucky 40507
                                                      Telephone: (859) 225-3731
                                                      Facsimile: (859) 225-3830
                                                      Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE

     I hereby certify that on March 1, 2021, I electronically filed the foregoing with the Clerk of
 the Court by using the CM/ECF system, which will send a notice of electronic filing to the
 following registered participants:

    x   Stephanie D. Ahmad
        ahmads@gtlaw.com
    x   Rheanne D. Falkner
        rfalkner@grsm.com,kcassady@grsm.com,sherron@grsm.com
    x   Richard C. McCrea, Jr
        mccrear@gtlaw.com,ramosr@gtlaw.com
    x   M. Austin Mehr
        amehr@austinmehr.com,amlopsc@yahoo.com,pgf@austinmehr.com,
        shall@austinmehr.com
    x   Bardia Sanjabi
        sanjabib@gtlaw.com,houkr@gtlaw.com,bardiasanjabi@yahoo.com
    x   Elizabeth A. Thornsbury
        elizabeth@austinmehr.com,amlopsc@yahoo.com,knolen@austinmehr.com,
        shall@austinmehr.com

 Manual Notice List

    x   No manual recipients


                                                     /s/ Elizabeth A. Thornsbury
                                                     ELIZABETH A. THORNSBURY




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